      Case 4:19-cv-04534 Document 27 Filed on 07/29/21 in TXSD Page 1 of 7
                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 July 29, 2021
                        UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

DAVID GARDNER,                              §
                                            §
        Plaintiff,                          §
VS.                                         §    CIVIL ACTION NO. 4:19-CV-4534
                                            §
UNION PACIFIC RAILROAD,                     §
                                            §
        Defendant.                          §

                           MEMORANDUM AND ORDER

                                           I.

       Before the Court is the defendant’s, Union Pacific Railroad Company, amended

motion for summary judgment [DE 19], the plaintiff’s, David Gardner, response [DE 20],

and the defendant’s reply in support of its motion for summary judgment [DE 22]. After

a careful review of the matters presented, including the plaintiff’s complaint, the Court

determines that the defendant’s motion should be denied.

                                           II.

       The plaintiff began his employment with the defendant in June of 2014, as a

locomotive electrician. As such, his duties were to ensure that the electrical systems of

the locomotives met Federal Railroad and Union Pacific standards, all required upkeep of

the trains, the safety of his fellow employees, and the communities through which the

trains pass.   To fulfill his duties, the plaintiff performed safety and maintenance

inspections on the locomotives electrical systems, performed troubleshooting and




1/7
      Case 4:19-cv-04534 Document 27 Filed on 07/29/21 in TXSD Page 2 of 7




maintenance, and diagnostic tests concerning any malfunctions.             These duties often

required the plaintiff to work on high and low voltage equipment.

       The defendant, Union Pacific, is a Class I freight railroad with connections and

links in 23 states throughout the United States. In January of 2016, the plaintiff sought

and secured an approved medical leave. He returned to regular employment on or about

January 18, 2016. On February 3, in conversation with his supervisor, he reported that

while he was out on leave, he traveled to Israel and volunteered his services through an

organization called Volunteers for Israel.         He showed pictures of himself, other

volunteers posing on a tank and at least one armed Israeli soldiers.

       That exchange set off a chain of events that resulted in the defendant directing the

plaintiff to contact the Employee Assistance Program [“EAP”] in Health and Medical

Services [“HMS”] to determine the plaintiff’s fitness for duty. The supervisor claims that

the plaintiff showed pictures of himself “with an assault rifle [and] in an Israeli military

uniform.” According to his reported conversation with his own supervisor, the plaintiff’s

supervisor describes the conversation as “unnerve[ing]”. He further stated that on a

previous occasion, unrelated in time to the reported conversation between he and the

plaintiff, the plaintiff stated that “he felt like if he didn’t leave right now, he was going to

shoot somebody.” It is undisputed that these latter alleged remarks occurred at a time

somewhat distant from the January, 2016 conversation.

       As a result of the conversation between the plaintiff and his supervisor upon his

return, the shop operations manger contacted EAQP and HMS and made a “manager

referral” for “fitness for duty” regarding the plaintiff.          It is undisputed that the


2/7
      Case 4:19-cv-04534 Document 27 Filed on 07/29/21 in TXSD Page 3 of 7




defendants’ managers have a right to refer or initiate a fitness for duty review for an

employee when they are concerned about an employee’s fitness for duty. However, here

the plaintiff was pulled from service and placed on a 60-day medical leave of absence

pending a psychological evaluation.

       On three occasions, between April and June of 2016, the plaintiff failed to report

for appointments with the defendant’s evaluating physician. Due to the plaintiff’s failure

to report, the defendant’s manager(s) again informed the plaintiff that he would be

required to complete certain paperwork for the doctor’s review, and report to the doctor.

The plaintiff continued to refuse to do the paperwork or report. Finally on May 18, the

defendant sent the plaintiff a third and final notice concerning his failure to comply, and

set June 15 as the final opportunity for him to complete an appointment. Again, the

plaintiff failed and refused. On August 24, the defendant dismissed the plaintiff from his

employment for insubordination – failing to report for a medical evaluation.

                                           III.

                                          -A–

       On August 15, 2016, the plaintiff filed a charge of discrimination with the EEOC

alleging that he was wrongfully terminated in violation of the ADA 42 U.S.C. §§

12102(1) et. seq. In an April 12, 2016, letter to the EEOC the plaintiff asserted that he

was being discriminated against based on his race, religion, age and Veteran status. On

August 15, 2016, he signed a Charge of Discrimination with the EEOC, adding a claim

that he was being regarded as disabled even though he was not disabled. Therefore, the

plaintiff asserts that the defendant’s motion for summary judgment should be denied.


3/7
      Case 4:19-cv-04534 Document 27 Filed on 07/29/21 in TXSD Page 4 of 7




                                           -B–

       The defendant contends that the plaintiff is not disabled under the ADA, that he

has the burden to establish that he has a disability, or that the defendant regarded him as

having a disability and, therefore, subjected him to an adverse action. The defendant

further contends that it had a legitimate, nondiscriminatory basis for its actions that have

not been overcome by the plaintiff’s evidence. Hence, it is entitled to summary judgment

on the plaintiff’s ADA claim and his impermissible medical examination claim.

IV.    STANDARDS OF REVIEW

       A.     Summary Judgment Standard

       A movant is entitled to a summary judgment where there is no genuine issue of

material fact as to each of the elements of the non-movant. Claim(s) and the moving

party is entitled to judgment as a matter of law. Fed. R. Civ. P., Rule 56(a). The burden

to establish the absence of a genuine issue of a material fact as to the nonmovant’s claim

rests on the movant. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Hence, the

undisputed fact issues must be outcome determinative in order for the movant to receive a

judgment as a matter of law. Hanchey v. Energas Co., 925 F.2d 96, 97 (5th Cir. 1990).

Once the movant bears his burden, the burden of persuasion shifts to the nonmovant to

establish that summary judgment should not issue. See Morris v. Covan Worldwide

Moving, Inc., 144 F.3d 377, 380 (5th Cir. 1998). In all instances, the evidence must be

viewed in light most favorable to the nonmovant, indulging all justifiable or reasonable

inferences. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 254 (1986).




4/7
      Case 4:19-cv-04534 Document 27 Filed on 07/29/21 in TXSD Page 5 of 7




       B.     Other Relevant Authorities

       The American with Disabilities Act Amendments Act of 2008 (“ADAAA”)

provides that “[n]o covered entity shall discriminate against a qualified individual on the

basis of disability in regard to job application procedures, the hiring, advancement, or

discharge of employees, employee compensation, job training, and other terms,

conditions, and privileges of employment.” 42 U.S.C. § 12112(a). A “disability” with

respect to an individual, is defined within the meaning of the Act to include: (1)    a

physical or mental impairment that substantially limits one or more of the major life

activities of such individual; (2) a record of such an impairment; or (3)     being

regarded as having such an impairment.” 42 U.S.C. § 12102(1). A “qualified individual”

within the meaning of the Act is defined as “an individual who, with or without

reasonable accommodation, can perform the essential functions of the employment

position that such individual holds or desires.” 42 U.S.C.A. § 12111(8).

       “To establish a prima facie discrimination under the ADA, a plaintiff must prove:

(1) that he is disability, or is regarded as disabled; (2) that he is qualified for the job;

[and] (3) that he was subject to an adverse employment decision on account of his [or

presumed] disability.    E.E.O.C. v. LHC Grp., Inc., 773 F.3d 688, 697 (5th Cir.

2014)(quoting Zenor v. El Paso Healthcare Sys., Ltd., 176 F.3d 847, 853 (5th Cir. 1999)).

The “‘[f]ailure to establish an actual or perceived disability is [ ] fatal to a plaintiff’s

case,’ and no further consideration is required.” Willis v. Noble Envtl. Power, LLC, 143

F. Supp. 3d 475, 479 (N.D. Tex. 2015), appeal dismissed (Feb. 26, 2016) (citing McInnis




5/7
      Case 4:19-cv-04534 Document 27 Filed on 07/29/21 in TXSD Page 6 of 7




v. Alamo Cmty. Coll. Dist., 207 F.3d 276, 280 (5th Cir. 2000); see Waldrip v. Gen. Elec.

Co., 325 F.3d 652, 654 (5th Cir. 2003)).

V.     ANALYSIS AND DISCUSSION

       In the case at bar, neither the plaintiff nor the defendant asserts that the plaintiff is

disabled. In fact, the plaintiff never claimed that he was disabled. Instead, he states that

ethnic and/or religious bias placed him in the untenable position of either disclosing his

medical condition [PTSD] for which he had already received counseling or submitting to

unspecified treatment chosen by the defendant’s physician after submitting to his own

physician. Upon returning to work, he presented to HR a release to return to work note

that did not have restrictions.

       The Court is of the opinion that the plaintiff’s supervisor’s report was not based on

observations of the plaintiff’s conduct or a failure to perform his duties. The plaintiff

alleges that his supervisor’s haste to disparage him is religion/ethnic related bias, and not

based on objective facts. The Court agrees. The evidence received raises a disputed

issue of fact as to whether a factfinder will accept the defendant’s proferred “legitimate,

nondiscriminatory” basis for terminating the plaintiff’s employment.

       The defendant states as a basis for the termination that it has a duty to maintain

safety in the workplace, its equipment and along its rail routes. However, the defendant

has failed to point to any unsafe act committed by the plaintiff in the workplace. In fact,

all of the testimony and documents support the view that the plaintiff was performing his

duties appropriately, reporting to work according to schedule and completing each task.




6/7
      Case 4:19-cv-04534 Document 27 Filed on 07/29/21 in TXSD Page 7 of 7




There is no evidence that the plaintiff intentionally or carelessly placed his fellow

employees, the defendant’s equipment, or the public at risk.

       A jury may determine that the representations of the plaintiff’s supervisor were

distortions and not fact based, totally unrelated to the plaintiff’s fitness to work. Hence,

the defendant’s investigation fails to support the supervisor’s view and was not based on

an investigation that included the plaintiff’s HR records. The defendant’s managers did

not interview the plaintiff or his co-workers concerning any risks. For a legitimate, non-

discriminatory basis to stand, it must be fact based and not based in suppositions or

personal bias.

VI.    CONCLUSION

       The evidence shows that the plaintiff was released to return to work after taking a

medical leave of absence. The defendant ignored the plaintiff’s physician’s statement

and sought a finding from its chosen physician. Therefore, the defendant’s motion for

summary judgment is Denied.

       It is so Ordered.

       SIGNED on this 29th day of July, 2021.


                                              _________________________________
                                              Kenneth M. Hoyt
                                              United States District Judge




7/7
